Case 1:04-cv-01140-STA Document 11 Filed 06/22/05 Page 1 of 2 Page|D 14

§A() 85 (Re\=. 81`98) Notice_ Consent_ and (Jtder ot`Reference _ Exercise otjurisdiction by a United Stales Magistrate lodge

UNITED STATES DISTRICT CoURT

Western

 

 

District of Tennessee
T J B Ker and T B k r NOTICE1 CONSENT, AND ORDER OF REFERENCE _
Om ` a e"y a e EXERCISE or JunisolcrloN Bv A UNITED sTATEs
Plaintil"f MAGISTRATE JUDGE
V.
l\/lerrel| Pau| Newman and French Trucking |nc. Case Number: 1'04`1140'T"An
Defendant

NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
TO EXERCISE JURISDICTION

ln accordance With the provisions of 28 U.S.C. §636(€), and Fed.R.Civ.P. 73, you are notified that a United States
magistrate judge ofthis district court is available to conduct any or all proceedings in this case including ajury or nonjury trial,

and to order the entry ofa final judgment Exercise ofthis jurisdiction by a magistrate judge is, however, permitted only if all
parties voluntarily consent.

You may, without adverse substantive consequences1 withhold your consent, but this will prevent the court`sjurisdiction
from being exercised by a magistratejudge. lf any party withholds consent, the identity of the parties consenting or withholding
consent will not be communicated to any magistrate judge or to the districtjudge to whom the case has been assigne_d;

An appeal t`rom a judgment entered by a magistratejudge shall be taken directly to the United States court of appeals for
thisjudicial circuit in the same manner as an appeal from any otherjudgment of this district court.

CONSENT To THE EXERCISE 0F JURISDICTION Bv A UNITED STATES MAGISTRATE .]UDGE

ln accordance with provisions 01"28 U. S. C. §636(c) and Fed. R. Civ. P. 73, the parties in this case consent to have;a United

States magistratejudge conduct any and all proceedings in this case including the trial order the entry ofa final judgment, and "

conduct all post-judgment proceedings

Party Represented
Tom and Terry Baker

|Vlerre|l Pau| Newman

 

 

 

 

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French Trucking. lnc. \ ~ ¢'E l 5 _-L .“
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ORDER oF REFERENCE §§ §§ §
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z< “"E§ ‘~.‘?
lT IS ORDERED that this case be referred to Judge S- Thoma$ Anderson QC')F_ ' _ ij
United States Magistrate Judge to conduct all proceedings and order the entry ot` judgment in accord""e hZSMS.C 0

§636(0) and Fed. R. Civ. P. 73.

Q,NWAM€ C/Y/)MZ\ M

U Date ; /United States District.ludge
NOTE: RETURN THIS FORM TO THE CLERK OF THE C RT ONLY IF ALL PARTIE,S HAVE CONSENTED
ON THlS FORM TO THE EXERCISE OF JURISD|CTION BY A UNITED STATES MAGISTRATE JUDGE.

 

   

UNITD sATES DISTRIC COURT - WE"RNTE DISTRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy ofthe document docketed as number ll in
case 1:04-CV-01140 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

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Honorable S. Anderson
US DISTRICT COURT

